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                      UNITED STATES DISTRICT COURT
                       DISTRICT OF MASSACHUSETTS
_______________________________________
                                        )
IN RE: TELEXFREE SECURITIES             )
LITIGATION                              )         CIVIL ACTION
                                        )         NO. 4:14-02566-TSH
                                        )
______________________________________ )



ORDER AND MEMORANDUM ON PLAINTIFFS’ MOTION TO COMPEL (Docket No.
                           1692)

                                              9/5/2023
HILLMAN, S.D.J.

       This multi-district litigation involves dozens of defendants who allegedly aided and

abetted a fraudulent pyramid scheme run by TelexFree. The plaintiffs move to compel additional

discovery from defendant Wells Fargo Bank N.A. (“Wells Fargo”). (Docket No. 1692). For the

reasons below, the motion is granted in part and denied in part.

                                            Background

       In its motion to dismiss, Wells Fargo contested whether plaintiffs adequately alleged a

primary fraud in its motion to dismiss, rather than the allegations that it aided and abetted said

fraud. (Docket No. 1418, at 5-7). The complaint alleges that certain Wells Fargo employees (as

well as employees of a related entity, Wells Fargo Advisors) were intimately involved in the

TelexFree fraud and that Wells Fargo is vicariously liable for their actions. It further alleges that

Wells Fargo had actual knowledge that TelexFree was fraudulent via its internal review

mechanisms and the public reporting on TelexFree, but continued to provide services to

TelexFree and its agents. (Fifth Amended Consolidated Complaint, at ¶¶ 314-504).
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       The plaintiffs and Wells Fargo have been engaged in discovery for nearly a year. In June,

plaintiffs filed a motion to compel which this Court denied, largely for failure to abide by local

rules and mootness. (Docket No. 1658). On the final day of document discovery, plaintiffs filed

this motion. (Docket No. 1692).

                                          Standard of Review

       To justify a motion to compel, the information sought must be: “(1) not privileged; (2)

relevant to the claim or defense of any party; and (3) proportional to the needs of the case.”

Smith v. Turbocombustor Tech., Inc., 338 F.R.D. 174, 176 (D. Mass. 2021) (citation omitted).

Throughout their brief, plaintiffs seek broad relief, and initially describe their motion as seeking

to compel Wells Fargo “to fully respond to Plaintiffs’ First Set of Interrogatories No. 7 and First

Set of Requests for Production of Documents Nos. 4, 9, 10, and 81.” (Docket No. 1693, at 1).

Wells Fargo spends most of its brief opposing this broad relief. However, Local Rule 37.1(b)(5)

requires a party filing a motion to compel discovery to describe “the moving party’s position as

to each contested issue, with supporting legal authority, which statement shall be set forth

separately immediately following each contested item.” In accordance with this rule, at the end

of each section, plaintiffs make a specific request. With one exception, relating to relevancy in

multi-party cases, the Court responds to these specific requests and does not address any broader

relief not specifically requested.

                                               Analysis

                                     1. Relevancy in Multi-Party Cases

       The parties dispute the scope of Federal Rule of Civil Procedure Rule 26 as it applies to

multi-party cases where one defendant may have information that is relevant to a claim or

defense the plaintiff has against a different defendant. Wells Fargo takes the position that such



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information is not relevant. That is incorrect. Rule 26 clearly states that “any nonprivileged

matter that is relevant to any party’s claim or defense” is discoverable (emphasis added).

Especially in complex, multi-party cases like this one, it is conceivable one defendant may have

information relevant to a plaintiff’s claim against a different defendant. Cf. Fruit Growers Co-op.

v. Cal. Pie & Baking Co., 3 F.R.D. 206, 208 (E.D.N.Y. 1942). That information is relevant under

Rule 26 and subject to discovery.

       That said, this Court would not generally compel discovery when the plaintiffs can obtain

relevant information with greater ease from the party against whom they have a claim.

Relevancy is measured by live claims, as this Court has repeatedly reminded the plaintiffs. For

instance, the plaintiffs settled all claims against Base Commerce and it was dismissed from this

litigation. (Docket No. 1059). Therefore, claims against Base Commerce are not grounds for

discovery against Wells Fargo. Claims against other, active defendants might be. With these

caveats in mind, if Wells Fargo has withheld any documents discovered in its internal searches

by relying on this legally erroneous position, it shall disclose them immediately.

                                    2. Document Retention Policies

       Plaintiffs request this Court to “compel [Wells Fargo] to provide responses to Plaintiffs

Request Nos. 9 and 10 and Interrogatory No. 7, given that the pre-litigation destruction or loss of

relevant documents related to TelexFree has now been confirmed.” (Docket No. 1693, at 14).

The basis of this request are letters the plaintiffs received from another defendant, ProPay, in

2020, 1 which were sent from Visa to a Wells Fargo employee in April, May, June, and July 2013

“regarding TelexFree’s violation of Visa’s chargeback rules and related communications.”



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        Plaintiffs failed to reveal their existence to Wells Fargo until April 26, 2023. (Docket
No. 1704, at 17). The reason for this delay is unclear. However, the delay is not relevant to the
substance of this motion.
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(Docket No. 1704, at 16). At the time the plaintiffs filed their motion to compel, Wells Fargo

was unable to locate the letters. However, Wells Fargo argues it has now found the “repository”

with the relevant documents and will, shortly, forward the Visa letters to plaintiffs along with

other relevant documents. Therefore, there has been no spoilation or destruction of evidence.

       Because Request Nos. 9 and 10 and Interrogatory No. 7 deal with the policies for

retaining evidence, plaintiffs’ argument falls flat. The issue is not that Wells Fargo did not retain

the evidence, but that its search methodology was deficient. Since plaintiffs do not make any

specific requests with regard to the adequacy of the searches, this Court will not guess at the

relief the plaintiffs’ request and denies this aspect of their motion. However, the deficiency of

Wells Fargo’s search methodology does bear on the plaintiffs’ request for more custodians,

discussed below. Therefore, this Court will review those arguments.

       Wells Fargo defends its search methodology, arguing that “nothing in Plaintiffs

allegations or [Wells Fargo’s] investigation of TelexFree’s bank accounts at Wells Fargo

indicated any connection to Ms. Flanagan” (the employee who was sent the letters) and “these

documents have no direct connection to Plaintiffs’ allegations against [Wells Fargo].” (Docket

No. 1704, at 17). That is, Wells Fargo argues they are not relevant. Again, relevancy is measured

by any claim in the litigation, not merely claims between the parties. And a letter to a Wells

Fargo employee informing them that TelexFree was violating chargeback rules four months in a

row is relevant to the current litigation. The plaintiffs’ complaint alleges, generally, that Wells

Fargo’s internal review mechanisms revealed that TelexFree was fraudulent. Although this Court

has chastised plaintiffs in the past for attempting to constructively amend their complaint,

“[p]leadings must be construed so as to do justice.” Fed. R. Civ. Proc. Rule 8(e). The plaintiffs

were not, as Wells Fargo seems to suggest, required to name the specific person who interacted



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with the internal review mechanism that allegedly caused Wells Fargo, at least in part, to acquire

actual knowledge of the fraudulent nature of TelexFree.

        The nature of Wells Fargo’s discovery of the letters is also concerning. While Wells

Fargo could not find the letters between May and July of 2023, Wells Fargo reveals in its

memorandum that “on August 1, as part of its ongoing efforts to locate documents to respond to

Plaintiffs’ demands, [Wells Fargo] informed its counsel that it had located an additional

repository of documents . . . [Wells Fargo] has determined that the Visa Letters for May, June,

and July 2013 are included in this data, along with a small number of other TelexFree-related

materials.” (Docket No. 1704, at 16) (emphasis added). The Court is not aware of the nature of

these materials beyond this brief description, but they would have never been revealed had

plaintiffs not confronted Wells Fargo with the Visa letters. Furthermore, while the Court

understands that Wells Fargo is a national organization, it is also concerned that it took three

months for it to find a specific letter addressed to a specific Wells Fargo employee on a specific

date. Thus, this Court finds that the plaintiffs have credibly alleged shortcomings with Wells

Fargo’s search methodology.

                                              3. Custodians 2

        Wells Fargo limited its searches for documents to certain “custodians,” a common and

understandable approach given its size. The plaintiffs request that “this Court compel [Wells

Fargo] to work in good faith with Plaintiffs to search additional custodians who interacted with

or worked on matters related to TelexFree, without the limitations outlined in [Wells Fargo’s]

July 18th letter.” (Docket No. 1693, at 10). In that letter, Wells Fargo took the position that, “[t]o

the extent Plaintiffs identify a particular individual that [they] believe would have unique


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          Although the plaintiffs refer to this section as “Search Terms and Custodians,” they never
identify a deficiency in Wells Fargo’s search terms.
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information or knowledge, however, we are willing to consider the possibility of searching that

individual’s documents for responsive information.” (Docket No. 1693-16, at 3).

       Wells Fargo argues that quibbling about custodians should occur at the start of discovery

and late requests to add custodians are unduly burdensome. That is generally correct. See, e.g.,

Maquet Cardiovascular LLC v. Abiomed, Inc., 627 F. Supp. 3d 54, 59 (D. Mass. 2022); Bucceri

v. Cumberland Farms, Inc., No. 15-cv-13955-IT, 2020 WL 58428, at *7 (D. Mass. Jan. 6, 2020);

MedIdea, L.L.C. v. DePuy Orthopaedics, Inc., No. 17-cv-11172-LTS, 2018 WL 4039359, at *4

(D. Mass. Aug. 23, 2018). But there is no hard-and-fast rule against additional searches of

additional custodians, even later in discovery. See, e.g., Creative Machining & Molding Corp. v.

CRC Polymer Sys., Inc., No. 17-cv-30043-MAP, 2018 WL 1440320, at *3 (D. Mass. Mar. 22,

2018); Trs. of Bos. Univ. v. Everlight Elecs. Co., Ltd., No. 12-cv-11935-PBS, 2015 WL

13679781, at *3 (D. Mass. Apr. 29, 2015). Whether to compel late searches is a question of

“proportionality,” and to some extent turns on the reason the request is late. Here, both parties

contributed to the last-minute nature of this request.

       Wells Fargo’s initial production of documents occurred on February 20, 2023. (Docket

No. 1693, at 3). Plaintiffs sent responses on March 20 and March 21, 2023, which do not

mention custodians. (Docket Nos. 1693-6; 1693-7). Since then, the parties have been in near

constant discussions concerning discovery. At a June 16 meet-and-confer Wells Fargo agreed to

provide a list of custodians it was using in searches. (Docket No. 1693, at 3). This discussion,

memorialized in a June 29 letter, (Docket No. 1693-8, at 5), seems to have been the first time the

issue of custodians was raised, late in the discovery process. At the time of the June 16, 2023

meet-and-confer paper discovery was set to end on June 30, 2023, though the plaintiffs had a

pending request to push back the deadlines, (Docket No. 1613), which this Court partially



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granted, (Docket No. 1657). However, it occurred significantly before Wells Fargo dates it, on

July 7. (Docket No. 1704, at 3).

        Wells Fargo provided the list of thirty-six custodians on July 18, which “overlapped”

with the plaintiffs’ preferred list to some unknown degree. (Docket No. 1693-16). Wells Fargo

does not explain why it took thirty-two days for it to provide a list of the custodians it was using

for searches. 3 Thus, this Court does not fully credit Wells Fargo’s argument that plaintiffs are

responsible for the last-minute request for additional custodians.

        This Court also does not credit Wells Fargo’s argument that additional custodians are

unlikely to reveal relevant information. As discussed above, Wells Fargo’s search methodology

missed relevant information and Wells Fargo has advanced a cramped view of relevancy. Nor

does Wells Fargo explain, especially given the relevant documents unearthed in the new

repository, why additional custodians are “unlikely to yield any new information that Plaintiffs

do not have.” (Docket No. 1704, at 7). Indeed, Wells Fargo’s memorandum simply states that it

“developed a robust set of search terms and custodians.” (Id.).

        However, plaintiffs’ request of conferring to add some indeterminate number of new

custodians seems likely to create another discovery dispute before this Court. In light of the end

of document discovery, plaintiffs’ own role in not promptly bringing up the issue of custodians,

and to prevent additional motions to compel, the plaintiffs may identify six additional custodians

and Wells Fargo shall run searches using the search terms used for the other custodians. The date

ranges for the searches will be from January 1, 2012 through December 31, 2014.


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          This Court does not appreciate Wells Fargo’s linguistic sleight of hand in dating its responses:
“[Wells Fargo] conferred with Plaintiffs within five days of Plaintiffs’ request for custodians and terms,
and it provided both lists to Plaintiffs six days later.” (Docket No. 1704, at 3). An unwary reader might
think Wells Fargo provided “both lists” within six days of the “initial” letter, but in fact Wells Fargo
responded eleven days after the initial letter—and a full thirty-two days after agreeing to provide a list of
custodians in the meet-and-confer on June 16.
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                                            4. Date Ranges

       The plaintiffs request this Court “compel [Wells Fargo] to disclose to Plaintiffs the dates

for which it conducted its searches related to each Request.” To the extent it has not already done

so, Wells Fargo shall disclose those dates to the plaintiffs. Cf. (Docket No. 1704, at 9).

                                       5. Financial Institutions

       Plaintiffs request that “this Court compel [Wells Fargo] to expand the date range of its

search for documents responsive to Request No. 81 to January 1, 2012 through December 31,

2014, and include additional custodians who may have been involved in communications with

ProPay and other financial institutions.” This Court finds this request satisfied by the grant of six

additional custodians above.

                                       6. Organizational Chart

       Wells Fargo has stated that there are no available organizational charts for the time period

when TelexFree operated because the “human resources management software” that tracked the

reporting structures of employees in 2013 and 2014 “tracked real-time reporting structures, and

[Wells Fargo] does not have the ability to generate the kind of historical organizational chart that

Plaintiffs now seek.” Plaintiffs request that “this Court compel [Wells Fargo] to explain in detail

what efforts were made to locate documents detailing the organizational structure of [Wells

Fargo] during the 2012 to 2014 timeframe, and to further search for such documents.” (Docket

No. 1693, at 15). Wells Fargo shall explain in detail what efforts were made to locate documents

detailing the organizational structure of Wells Fargo during the 2012 to 2014 timeframe. This

Court will not order Wells Fargo to search for documents that no longer exist.

       Much of the briefing concerns whether Wells Fargo’s proposed “narrative” of the

organization during the relevant time period will be an adequate replacement for the



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organizational chart plaintiffs seek (and which no longer exists). That is not at issue in the

request the plaintiffs made, therefore the Court does not address it. Likewise, any issues of

spoilation are not properly before the Court at this time.

                                           7. Privilege Log

        Wells Fargo has provided a privilege log; thus, that aspect of the plaintiffs’ motion is

moot.

                                            Conclusion

        For the reasons above, the plaintiffs’ motion to compel is granted in part and denied in

part. Wells Fargo shall disclose any materials it discovered in its searches but withheld on the

erroneous legal position that relevance under Rule 26 does not extend to any live claims against

other parties in this litigation. The plaintiffs shall expeditiously name six custodians and Wells

Fargo shall run searches with the search terms used for the previous searches with a date range of

January 1, 2012 through December 31, 2014. To the extent it has not already done so, Wells

Fargo shall disclose the date ranges of previous searches to the plaintiff. Finally, Wells Fargo

shall explain in detail what efforts were made to locate documents detailing the organizational

structure of Wells Fargo during the 2012 to 2014 timeframe.



SO ORDERED

                                                                          /s/ Timothy S. Hillman
                                                                       TIMOTHY S. HILLMAN
                                                                     SENIOR DISTRICT JUDGE




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